Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 1 of 74




       EXHIBITS 1–2
[Documents Submitted Under Seal]
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 2 of 74




             EXHIBIT 3
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page1
                                                       Pageof3 16
                                                               of 74
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page2
                                                       Pageof4 16
                                                               of 74
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page3
                                                       Pageof5 16
                                                               of 74
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page4
                                                       Pageof6 16
                                                               of 74
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page5
                                                       Pageof7 16
                                                               of 74
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page6
                                                       Pageof8 16
                                                               of 74
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page7
                                                       Pageof9 16
                                                               of 74
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                          Document29    Filed 11/07/14 Page8
                                                        Page of
                                                             1016
                                                                of 74
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                          Document29    Filed 11/07/14 Page9
                                                        Page of
                                                             1116
                                                                of 74
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page10
                                                       Page 12  of 74
                                                             of 16
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page11
                                                       Page 13  of 74
                                                             of 16
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page12
                                                       Page 14  of 74
                                                             of 16
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page13
                                                       Page 15  of 74
                                                             of 16
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page14
                                                       Page 16  of 74
                                                             of 16
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page15
                                                       Page 17  of 74
                                                             of 16




               RESOLUTION OF THE BOARD OF DIRECTORS
                                OF
                       SAMSUNG SOl CO., LTD.



   A meeting of the Board of Directors (the "Board") of SAMSUNG SOl,
   CO., LTD. (the "Company"), a Korean corporation, was held on March 9,
   2011 at the Company's Seoul office having its address at 21 5t Fl., SEC
   Bldg., Samsung Seocho Tower, 1320-10 Seocho 2-00ng, Seocho-Gu,
   Seou1137-965, Korea.



   The following Directors of the Company were present and constituted a
   quorum:



   MR. cm HUN CHOI
   MR. JUNO WHA LEE
   MR. BYEONG BOK JEON
   MR. YEONO KIL BAE
   MR. JUNE CHULL CHANG
   MS. HEE KYUNG KIM


   The following resolutions are hereby adopted by the Board of the Company
   in accordance with the Commercial Laws of Korea:

   WHEREAS, it is deemed in the best interest of the Company to enter a plea
   agreement with the United States Department of Justice;

   NOW, THEREFORE, be it

   RESOLYED, that execution, delivery and performance of a plea agreement,
   by and between the Company and the United States Department of Justice
   (the "Agreement"), in substantially the fonn made available to the Board, is


                                                                           1/2
Case 4:07-cv-05944-JST Document
  Case3:11-cr-00162-WHA         2969-3 Filed05/17/11
                         Document29     Filed 11/07/14Page16
                                                       Page 18  of 74
                                                             of 16




   hereby approved; and

   FUTHER RESOLVED, that l\I1R. SANG SOD NOH, the Vice President of
   the Company, is hereby fully authorized to execute the Agreement and any
   other related documents on behalf of the Company and take all necessary
   actions, including representing the Company at any hearing in order to
   waive any and all rights of the Company referred to in the Agreement and
   to plead guilty on behalf of the Company according to the tenns of the
   Agreement.

   DATE:    MARCH 9, 2011




                                         ;;ifJ-      ubI. ~
                                          ----.I/-----------L-----
                                                                        q          -
   MR. cm HUN CHOI                        MR.. JUNG WHA LEE




                                         ----------------------~----~-----
   MR. BYEONG BOK JEON                   MR. YEONG KIL BAE




                                                                             2/2
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 19 of 74




             EXHIBIT 4
[Document Submitted Under Seal]
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 20 of 74




             EXHIBIT 5
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 21 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 22 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 23 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 24 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 25 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 26 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 27 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 28 of 74




             EXHIBIT 6
CaseCase3:10-cr-00231-EXE
    4:07-cv-05944-JST Document 2969-3 Filed03/30/10
                          Document1    Filed 11/07/14Page1
                                                       Pageof298 of 74
CaseCase3:10-cr-00231-EXE
    4:07-cv-05944-JST Document 2969-3 Filed03/30/10
                          Document1    Filed 11/07/14Page2
                                                       Pageof308 of 74
CaseCase3:10-cr-00231-EXE
    4:07-cv-05944-JST Document 2969-3 Filed03/30/10
                          Document1    Filed 11/07/14Page3
                                                       Pageof318 of 74
CaseCase3:10-cr-00231-EXE
    4:07-cv-05944-JST Document 2969-3 Filed03/30/10
                          Document1    Filed 11/07/14Page4
                                                       Pageof328 of 74
CaseCase3:10-cr-00231-EXE
    4:07-cv-05944-JST Document 2969-3 Filed03/30/10
                          Document1    Filed 11/07/14Page5
                                                       Pageof338 of 74
CaseCase3:10-cr-00231-EXE
    4:07-cv-05944-JST Document 2969-3 Filed03/30/10
                          Document1    Filed 11/07/14Page6
                                                       Pageof348 of 74
CaseCase3:10-cr-00231-EXE
    4:07-cv-05944-JST Document 2969-3 Filed03/30/10
                          Document1    Filed 11/07/14Page7
                                                       Pageof358 of 74
CaseCase3:10-cr-00231-EXE
    4:07-cv-05944-JST Document 2969-3 Filed03/30/10
                          Document1    Filed 11/07/14Page8
                                                       Pageof368 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 37 of 74




             EXHIBIT 7
Case 4:07-cv-05944-JST Document
   Case3:10-cr-00817-WHA        2969-3 Filed11/09/10
                          Document1     Filed 11/07/14Page1
                                                       Pageof3812of 74
Case 4:07-cv-05944-JST Document
   Case3:10-cr-00817-WHA        2969-3 Filed11/09/10
                          Document1     Filed 11/07/14Page2
                                                       Pageof3912of 74
Case 4:07-cv-05944-JST Document
   Case3:10-cr-00817-WHA        2969-3 Filed11/09/10
                          Document1     Filed 11/07/14Page3
                                                       Pageof4012of 74
Case 4:07-cv-05944-JST Document
   Case3:10-cr-00817-WHA        2969-3 Filed11/09/10
                          Document1     Filed 11/07/14Page4
                                                       Pageof4112of 74
Case 4:07-cv-05944-JST Document
   Case3:10-cr-00817-WHA        2969-3 Filed11/09/10
                          Document1     Filed 11/07/14Page5
                                                       Pageof4212of 74
Case 4:07-cv-05944-JST Document
   Case3:10-cr-00817-WHA        2969-3 Filed11/09/10
                          Document1     Filed 11/07/14Page6
                                                       Pageof4312of 74
Case 4:07-cv-05944-JST Document
   Case3:10-cr-00817-WHA        2969-3 Filed11/09/10
                          Document1     Filed 11/07/14Page7
                                                       Pageof4412of 74
Case 4:07-cv-05944-JST Document
   Case3:10-cr-00817-WHA        2969-3 Filed11/09/10
                          Document1     Filed 11/07/14Page8
                                                       Pageof4512of 74
Case 4:07-cv-05944-JST Document
   Case3:10-cr-00817-WHA        2969-3 Filed11/09/10
                          Document1     Filed 11/07/14Page9
                                                       Pageof4612of 74
Case 4:07-cv-05944-JST Document
  Case3:10-cr-00817-WHA         2969-3Filed11/09/10
                          Document1      Filed 11/07/14Page10
                                                         Page of
                                                              4712
                                                                 of 74
Case 4:07-cv-05944-JST Document
  Case3:10-cr-00817-WHA         2969-3Filed11/09/10
                          Document1      Filed 11/07/14Page11
                                                         Page of
                                                              4812
                                                                 of 74
Case 4:07-cv-05944-JST Document
  Case3:10-cr-00817-WHA         2969-3Filed11/09/10
                          Document1      Filed 11/07/14Page12
                                                         Page of
                                                              4912
                                                                 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 50 of 74




             EXHIBIT 8
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 51 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 52 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 53 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 54 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 55 of 74
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 56 of 74




             EXHIBIT 9
      Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 57 of 74




FOR IMMEDIATE RELEASE                                                                        AT
TUESDAY, FEBRUARY 10, 2009                                                        (202) 514-2007
WWW.USDOJ.GOV                                                                 TDD (202) 514-1888

                 FORMER EXECUTIVE INDICTED FOR HIS ROLE
            IN TWO CATHODE RAY TUBE PRICE-FIXING CONSPIRACIES

  Global Price-Fixing Scheme Involves Tubes Used in Computer Monitors and Televisions

        WASHINGTON – A federal grand jury in San Francisco today returned a two-count
indictment against the former Chairman and Chief Executive Officer of Chunghwa Picture Tubes
Ltd. for his participation in global conspiracies to fix prices of two types of cathode ray tubes
(CRTs) used in computer monitors and televisions, the U.S. Department of Justice announced
today. This is the first charge as a result of the Antitrust Division’s ongoing investigation into
the cathode ray tubes industry.

        The indictment, filed today in U.S. District Court in San Francisco, charges Cheng Yuan
Lin, aka C.Y. Lin, a resident of Taiwan, with conspiring with others to suppress and eliminate
competition by fixing prices, reducing output and allocating market shares of color display tubes
(CDTs) to be sold in the U.S. and elsewhere, beginning at least as early as Jan. 28, 1997, until at
least as late as April 7, 2003. The indictment also charges C.Y. Lin with conspiring with others
to suppress and eliminate competition by fixing prices for color picture tubes (CPTs) to be sold
in the U.S. and elsewhere, beginning at least as early as March 12, 1997, until at least as late as
April 7, 2003.

        CRTs consist of evacuated glass envelopes that contain an electron gun and a
phosphorescent screen. When electrons strike the screen, light is emitted, creating an image on
the screen. CDTs and CPTs are each types of CRTs. CDTs are used in computer monitors and
other specialized applications, while CPTs are used in color televisions. The worldwide market
for CRTs, including CPTs and CDTs, in 1997, at the start of the conspiracies has been estimated
as approximately $26 billion.

       “This conspiracy harmed countless Americans who purchased computers and televisions
using cathode ray tubes sold at fixed prices,” said Scott D. Hammond, Acting Assistant Attorney
General in charge of the Antitrust Division. “The Antitrust Division will continue to prosecute
individuals, wherever they are located and however high their position on the corporate ladder,
who engage in price fixing aimed at U.S. businesses and consumers.”

       According to the charges, C.Y. Lin and co-conspirators carried out the CDT conspiracy
by, among other things:
      Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 58 of 74



                                               -2-

       C       Attending meetings and engaging in conversations and communications in
               Taiwan, Korea, Malaysia, China and elsewhere to discuss the prices, output and
               market shares of CDTs;
       C       Agreeing during those meetings, conversations and communications to charge
               prices of CDTs at certain target levels or ranges;
       C       Agreeing during those meetings, conversations and communications to reduce
               output of CDTs by shutting down CDT production lines for certain periods of
               time;
       C       Agreeing during those meetings, conversations and communications to allocate
               target market shares for the CDT market overall and for certain CDT customers;
       C       Exchanging CDT sales, production, market share and pricing information for the
               purpose of implementing, monitoring and enforcing adherence to the agreed-upon
               prices, output reduction and market share allocation;
       C       Implementing an auditing system that permitted co-conspirators to visit each
               other’s production facilities to verify that CDT production lines had been shut
               down as agreed;
       C       Authorizing and approving the participation of subordinate employees in the
               conspiracy;
       C       Issuing price quotations and reducing output in accordance with the agreements
               reached; and
       C       Taking steps to conceal the conspiracy and conspiratorial contacts through various
               means.

              C.Y. Lin is charged with carrying out the CPT conspiracy with his co-conspirators
       by, among other things:

       C       Attending meetings and engaging in conversations and communications in Taiwan,
               Korea, Malaysia, China, Thailand, Indonesia and elsewhere to discuss the prices of
               CPTs;
       C       Agreeing during those meetings, conversations and communications to charge
               prices of CPTs at certain target levels or ranges;
       C       Exchanging CPT pricing information for the purpose of implementing, monitoring
               and enforcing adherence to the agreed-upon prices;
       C       Authorizing and approving the participation of subordinate employees in the
               conspiracy;
       C       Issuing price quotations in accordance with the agreements reached; and
       C       Taking steps to conceal the conspiracy and conspiratorial contacts through various
               means.

       On Feb. 3, 2009, Lin was indicted for his participation in a separate conspiracy to suppress
and eliminate competition by fixing the prices of Thin Film Transistor-Liquid Crystal Display
(TFT-LCD) panels.
      Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 59 of 74



                                                -3-

        Lin is charged with violating the Sherman Act, which carries a maximum penalty of three
years imprisonment and a fine of $350,000 for individuals for violations occurring before June 22,
2004. The maximum fines may be increased to twice the gain derived from the crime or twice the
loss suffered by the victims if either of those amounts is greater than the Sherman Act maximum
fines.

         This case is part of an ongoing joint investigation by the San Francisco Field Office of the
Antitrust Division of the U.S. Department of Justice and the Federal Bureau of Investigation in
San Francisco. Anyone with information concerning illegal conduct in the CRT industry is urged
to call the San Francisco Field Office of the Antitrust Division at 415-436-6660.

                                                 ###

09-110
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 60 of 74




           EXHIBIT 10
    Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 61 of 74




                                  EUROPEAN COMMISSION

                                       PRESS RELEASE

                                                                 Brussels, 5 December 2012




Antitrust: Commission fines producers of TV and
computer monitor tubes € 1.47 billion for two decade-
long cartels
The European Commission has fined seven international groups of companies a total of
€ 1 470 515 000 for participating in either one or both of two distinct cartels in the sector
of cathode ray tubes ("CRT"). For almost ten years, between 1996 and 2006, these
companies fixed prices, shared markets, allocated customers between themselves and
restricted their output. One cartel concerned colour picture tubes used for televisions and
the other one colour display tubes used in computer monitors. The cartels operated
worldwide. The infringements found by the Commission therefore cover the entire
European Economic Area (EEA). Chunghwa, LG Electronics, Philips and Samsung SDI
participated in both cartels, while Panasonic, Toshiba, MTPD (currently a Panasonic
subsidiary) and Technicolor (formerly Thomson) participated only in the cartel for
television tubes. Chunghwa received full immunity from fines under the Commission's
2006 Leniency Notice for the two cartels, as it was the first to reveal their existence to the
Commission. Other companies received reductions of their fines for their cooperation in
the investigation under the Commission's leniency programme.
Commission Vice President in charge of competition policy Joaquín Almunia said: "These
cartels for cathode ray tubes are 'textbook cartels': they feature all the worst kinds of
anticompetitive behaviour that are strictly forbidden to companies doing business in
Europe. Cathode ray tubes were a very important component in the making of television
and computer screens. They accounted for 50 to 70% of the price of a screen. This gives
an indication of the serious harm this illegal behaviour has caused both to television and
computer screen producers in the EEA, and ultimately the harm it caused to the European
consumers over the years".
The two CRT cartels are among the most organised cartels that the Commission has
investigated. For almost 10 years, the cartelists carried out the most harmful anti-
competitive practices including price fixing, market sharing, customer allocation, capacity
and output coordination and exchanges of commercial sensitive information. The cartelists
also monitored the implementation, including auditing compliance with the capacity
restrictions by plant visits in the case of the computer monitor tubes cartel.




                                                                               IP/12/1317
    Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 62 of 74




Top management level meetings, dubbed "green(s) meetings" by the cartelists themselves
because they were often followed by a golf game, designed the orientations for the two
cartels. Preparation and implementation were carried out through lower level meetings,
often referred to as "glass meetings", on a quarterly, monthly, sometimes even weekly
basis. Meetings were held in various locations in Asia (Taiwan, Korea, Japan, Malaysia,
Indonesia, Thailand, Hong Kong, etc.) and Europe (Amsterdam, Budapest, Glasgow, Paris,
Rome). The cartels operated worldwide.
Multilateral meetings usually started with a review of demand, production, sales and
capacity in the main sales areas, including Europe; then prices were discussed, including
for individual customers, i.e. TV and computer manufacturers. They had therefore a direct
impact on customers in the European Economic Area (EEA), ultimately harming final
consumers. The cartelists were trying to address the decline of the CRT market in a
collusive way, to the detriment of consumers. For example, one document recording the
cartel discussions spells out clearly: "producers need to avoid price competition through
controlling their production capacity".
The investigation also revealed that the companies were well aware they were breaking
the law. For instance, in a document found during the Commission's inspections, a
warning goes as follows: "Everybody is requested to keep it as secret as it would be
serious damage if it is open to customers or European Commission". The participants were
therefore taking precautions to avoid being in possession of anticompetitive documents.
Some documents spelled out, for example: "Please dispose the following document after
reading it".


Fines
The fines were set on the basis of the Commission's 2006 Guidelines on fines (see IP/06/857
and MEMO/06/256).
In setting the level of fines, the Commission took into account the companies' sales of the
products concerned in the EEA, the very serious nature of the infringement, its geographic
scope, its implementation and its duration. If Chunghwa had not received full immunity,
its fines would have been € 8 385 000 for the TV tubes cartel and € 8 594 000 for the
computer monitor tubes cartel. Samsung SDI, Philips and Technicolor received reductions
of fines ranging from 10 to 40% for their cooperation under the Commission's leniency
programme. The reductions reflect the timing of their cooperation and the extent to which
the evidence they provided helped the Commission to prove the respective cartels. One of
the companies invoked its inability to pay the fine. The Commission assessed this claim
under point 35 of the 2006 fines Guidelines and granted a reduction of the fine.




                                            2
       Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 63 of 74




The fines imposed are as follows:

Name of            Reduction under       Fine for the TV   Fine for the        Total fine1
undertaking        the Leniency          tubes cartel1 (€) computer            (€)
                   Notice (%)                              monitor tubes
                                                           cartel1 (€)
Chunghwa2                      100%                    0                   0                 0
Samsung SDI                      40%         81 424 000          69 418 000       150 842 000
Philips                          30%        240 171 000          73 185 000       313 356 000
LG Electronics                    0%        179 061 000         116 536 000       295 597 000
                                30%
Philips and LG        (reduction only
Electronics2              for Philips)      322 892 000          69 048 000       391 940 000
Technicolor                      10%         38 631 000                             38 631 000
Panasonic                         0%        157 478 000                           157 478 000
Toshiba                           0%         28 048 000                             28 048 000
Panasonic,                        0%
Toshiba and
MTPD2                                        86 738 000                             86 738 000
Panasonic and                     0%
MTPD2                                          7 885 000                             7 885 000
TOTAL                                     1 142 328 000         328 187 000 1 470 515 000
1
 Legal entities within the undertaking may be held jointly and severally liable for the
whole or part of the fine imposed.
2
    Jointly and severally liable for that whole fine imposed.


Background
A Cathode Ray Tube ("CRT") is an evacuated glass envelope containing an electron gun
and a fluorescent screen. Two distinct types of CRTs are relevant for the cartels sanctioned
in today's decisions: (i) colour display tubes (CDT) used in computer monitors and (ii)
colour picture tubes (CPT) used for colour televisions. The CRT was gradually replaced by
alternative techniques such as LCD and plasma displays.
The Commission's investigation started with unannounced inspections in November 2007
(see MEMO/07/453). A statement of objections was issued in November 2009 (see
MEMO/09/525) on which the companies had the opportunity to comment and to be heard.
A supplementary statement of objections concerning corporate liability was issued in June
2012 against two companies.
More information on this case will be available under the case number 39437 in the
Commission's public case register on the competition website, once confidentiality issues
have been dealt with. For more information on the Commission’s action against cartels,
see its cartels website.




                                                 3
    Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 64 of 74




Action for damages
Any person or firm affected by anti-competitive behaviour as described in this case may
bring the matter before the courts of the Member States and seek damages. The case law
of the European Court of Justice (ECJ) and the Antitrust Regulation (Council Regulation
1/2003) both confirm that in cases before national courts, a Commission decision is
binding proof that the behaviour took place and was illegal. Even though the Commission
has fined the companies concerned, damages may be awarded without these being
reduced on account of the Commission fine.
The Commission considers that meritorious claims for damages should be aimed at
compensating, in a fair way, the victims of an infringement for the harm done. More
information on antitrust damages actions, including the public consultation and a citizens'
summary, is available at:
http://ec.europa.eu/comm/competition/antitrust/actionsdamages/documents.html




Contacts :
Antoine Colombani (+32 2 297 45 13)
Marisa Gonzalez Iglesias (+32 2 295 19 25)




                                            4
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 65 of 74




           EXHIBIT 11
    Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 66 of 74




                             Cease-and-Desist Order and Surcharge Payment Orders
                            against Manufacturers of Cathode Ray Tubes for Televisions
                                               (Tentative Translation)


                                                                                                 October 7, 2009
                                                                                     Japan Fair Trade Commission


    The Japan Fair Trade Commission (hereinafter “JFTC”) investigated entrepreneurs manufacturing
and selling the cathode ray tubes for televisions in accordance with the provisions of the
Antimonopoly Act              (hereinafter “AMA”), and found that they had engaged in activities that violate
Article 3 (prohibition of unreasonable restraint of trade) of the AMA. Accordingly, the JFTC today
issued a cease and desist order pursuant to the provision of Paragraph 2, Article 7 of the AMA and
surcharge payment orders pursuant to the provision of Paragraph 1, Article 7-2 of the AMA as shown
below.
    The JFTC commenced its investigations almost simultaneously with foreign competition
authorities including the United States Department of Justice and the European Commission in
November 2007.


1    The numbers of entrepreneurs involved in the violation, entrepreneurs subject to the cease and
     desist order and to the surcharge payment orders, and the amount of surcharge (See also the
     appendix);
                Number of                   Number of                Number of                 Total amount of
              entrepreneurs           entrepreneurs subject     entrepreneurs subject           the surcharge
      involved in violation              to the cease and         to the surcharge
                                           desist order            payment orders
                       11                       2                        5(Note 1)            3,322,240,000 yen
    (Note 1) In addition to the said five entrepreneurs, the JFTC is in the progress to give one foreign
                entrepreneur who is to be the addressee of another surcharge payment order an opportunity
                to express its opinions and to submit evidences concerning content of the surcharge
                payment order in accordance with the provision of Paragraph 6, Article 50 and Paragraph 5,
                Article 49 of the AMA.


2    Outline of the violation
      Regarding cathode ray tubes for televisions which                   Japanese manufacturing and sales
    companies of CRT televisions(Note 2)            have their overseas manufacturing subsidiaries and the
           (Note 3)
    like              (hereinafter “Overseas Manufacturing Subsidiaries and the Like”) purchase(Note 4)
    Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 67 of 74




     (hereinafter the “Specified CRTs”), the eleven entrepreneurs listed in the appendix, no later than
     around May 22, 2003(Note 5), formed an agreement to continuously hold CPT meetings(Note 6) about
     once every other month where they jointly set minimum target prices and the like, on an
     approximately quarterly basis, that each of them should abide by and that should be applied to the
     selling prices for Overseas Manufacturing Subsidiaries and the Like for the following quarter, and
     thereby, substantially restrained competition in the field of sales of the Specified CRTs.


(Note 2) The term “Japanese manufacturing and sales companies of CRT televisions” means Orion
       Electric Co., LTD., SANYO Electric Co., Ltd., Sharp Corporation, Victor Company of Japan,
       Limited and FUNAI ELECTRIC CO., LTD. each of which engages in the business of
       manufacturing and selling cathode ray tube televisions.
(Note 3) The term “Overseas Manufacturing Subsidiaries and the Like” means manufacturing
       subsidiaries or manufacturing subcontractors on contract located in the Southeast Asian
       Region which are substantial production bases of the Japanese manufacturing and sales
       companies of CRT televisions.
(Note 4) The term “Specified CRTs” means cathode ray tubes for televisions listed below:
       1. 14-inch round cathode ray tube;
       2. 20-inch round cathode ray tube;
       3. 21-inch round cathode ray tube;
       4. 21-inch flat cathode ray tube under the name Invar; and
       5. 21-inch flat cathode ray tube under the name AK.
(Note 5) MT Picture Display (Malaysia) Sdn. Bhd. joined in the agreement no later than February 16,
       2004 and MT Picture Display (Thailand) Co., Ltd. joined in it no later than April 23, 2004.
(Note 6) The term “CPT meeting” means meetings of sales personnel of the entrepreneurs
       manufacturing and selling the Specified CRTs including department managers or section
       chiefs or equivalent personnel responsible for sales or marketing activities of Samsung SDI
       Co., Ltd., LG Philips Displays Korea Co., Ltd., and MT Picture Display Co., Ltd..

3         Outline of the cease-and-desist order
    (1)     MT Picture Display Co., Ltd. and Samsung SDI Co., Ltd. must respectively pass a resolution
      on the following items by their authorized decision-making bodies on execution of business such
      as the board of directors:
          a. to confirm termination of the agreement as noted in 2 above; and
          b. to ensure that they will, neither mutually nor jointly with any other entrepreneurs, determine
             the selling prices of the Specified CRTs for Overseas Manufacturing Subsidiaries and the
             Like, and that each of them will determine such prices individually.
    (2)     Each of the two entrepreneurs must notify the measure taken in accordance with (1) above to
      the other entrepreneur and to the Japanese manufacturing and sales companies of CRT televisions,
      and ensure that the action is made known to and implemented by its employees.
           In addition, Samsung SDI Co., Ltd. must notify the measure taken in accordance with (1)
      above to Samsung SDI (Malaysia) BERHAD.

(3) The two entrepreneurs must in the future, neither mutually nor jointly with any other
      entrepreneurs, determine the selling prices of the Specified CRTs for Overseas
    Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 68 of 74




     Manufacturing Subsidiaries and the Like.


4    Outline of the surcharge payment order
      MT Picture Display (Malaysia) Sdn. Bhd., PT. MT Picture Display Indonesia, MT Picture
    Display (Thailand) Co., Ltd., Samsung SDI (Malaysia) BERHAD, and LG Philips Displays Korea
    Co., Ltd. shall pay the respective amounts of surcharge by January 8, 2010, described in the
    appendix (the total amount reaches 3,322,240,000 yen).
                                  Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 69 of 74




    Appendix
                                                                                                            Cease and desist   Surcharge payment
No.        Name of entrepreneur                  Location of principal office              Representative
                                                                                                                 order               order
       MT Picture Display Co.,
1                                   1-15, Matsuo-cho, Kadoma-shi, Osaka                  Tatsuo Tobinaga           ○                  −
       Ltd.
       MT Picture Display           Wisma Goshen, 2nd Floor 60, 62 & 64 Jalan SS
2      (Malaysia) Sdn. Bhd.         22/21 Damansara Jaya 47400 Petaling Jaya               Yue Sau Yin            −             650,830,000 yen
       (Note 4)
                                    Selangor, Malaysia
                                    Kawasan EJIP Industrial Park Plot 3-G, Desa
       PT. MT Picture Display
3                                   Sukaresmi, Kecamatan Cikarang Selatan, Kabupaten     Yoshitaka Yagaki         −             580,270,000 yen
       Indonesia(Note 5)
                                    Bekasi, Republic of Indonesia
                                    No. 142, Village No. 5, Bang Kadi Industrial Park,
       MT Picture Display
                                    Tiwanon Road, Bang Kadi Sub-district, Muang
4      (Thailand) Co., Ltd.                                                               Ravita Thisarn          −             566,140,000 yen
       (Note 6)                     Pathum Thani District, Pathum Thani Province,
                                    Kingdom of Thailand
                                    673-7 Maetan-dong, Youngtong-gu, Suwon,
5      Samsung SDI Co., Ltd.                                                              Kim Soontaek             ○                  −
                                    Kyunggi-do, Republic of Korea
                                    635 & 660, Kawasan Perindustrian, Tuanku Jaafar,
       Samsung SDI
6                                   71450 Sungai Gadut, Negeri Sembilan Darul            Cho Dae-Hyoung           −            1,373,620,000 yen
       (Malaysia) BERHAD
                                    Khusus, Malaysia
       LG Philips Displays          184 Gongdan-Dong, Gumi-City, Kyungbuk,
7                                                                                        Kwon, Soo-Kun            −             151,380,000 yen
       Korea Co., Ltd. (Note 7)     Republic of Korea
       P.T. LP Displays             Kawasan Industri MM2100 Block G Cibitung,
8                                                                                          Park Ju Tae            −                (Note 9)
       Indonesia                    Bekasi 17520 West Jawa, Republic of Indonesia
       Chunghwa Picture             No. 1127, Ho Ping Road, Ba De City, Taoyuan
9                                                                                         Wei-Shan Lin            −                   −
       Tubes Co. Ltd.               County, Taiwan, Republic of China
       Chunghwa Picture             10th Floor, Wisma Havela Thakardas, No. 1, Jalan
10     Tubes (Malaysia) Sdn.        Tiong Nam, Off Jalan Raja Laut, 50350 Kuala          Chuang-Yee Chiu          −                   −
       Bhd.                         Lumpur, Malaysia
                                    87/9 Moo 2, Sukhapiban 7 Road, Tambon
11     Thai CRT Co. Ltd(Note 8)     Thungsukala, Amphor Sriracha, Chonburi, Kingdom                               −                   −
                                    of Thailand
                                                        Total                                               2 entrepreneurs    3,322,240,000 yen
                                Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 70 of 74




(Note 1) In this appendix, No.1 is the parent entrepreneur of No.2, 3, and 4; No.5 is the parent entrepreneur of No.6; and No.9 is the parent entrepreneur of
           No.10. The parent entrepreneurs issued instructions and took control of the business of manufacturing and selling cathode ray tubes for televisions
           operated by their subsidiaries. No.7 is not a parent entrepreneur of No.8, but issued instructions to No.8 regarding the sales prices of the Specified
           CRTs.
(Note 2) The entrepreneurs indicated with a circle “○” are the addressees of the cease-and-desist order.
(Note 3) The entrepreneurs indicated with a hyphen “−“ committed the violation but are not the addressees of the cease and desist order or the surcharge
           payment order.
(Note 4) MT Picture Display (Malaysia) Sdn. Bhd. passed a resolution of dissolution on October 8, 2007. Its liquidation proceedings have been
           commenced on the same date and it has closed down its whole business activities.
(Note 5) PT. MT Picture Display Indonesia discontinued its operation on September 28, 2007. Its liquidation proceedings have been commenced on the
           same date and it has closed down its whole business activities.
(Note 6) MT Picture Display (Thailand) Co., Ltd. passed a resolution of dissolution on May 13, 2009. Its liquidation proceedings have been commenced
           on the same date and it has closed down its whole business activities.
(Note 7) LG Philips Displays Korea Co., Ltd. transferred its business of manufacturing and selling cathode ray tubes for televisions to Meridian Solar &
           Display Co., Ltd. having its principal office at Seoul Special City, Republic of Korea on July 21, 2009.
(Note 8) Thai CRT Co. Ltd passed a resolution of dissolution on June 29, 2007 and closed down its whole business activities, and later ceased to exist.
(Note 9)   The JFTC is in the progress to give an opportunity for the entrepreneur to express its opinions and to submit evidences concerning content of the
           surcharge payment order in accordance with the provision of Paragraph 6, Article 50 and Paragraph 3 and 5, Article 49of the AMA.
 Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 71 of 74


                                                                            Attached sheet (amendment)




 The JFTC today received letters from Samsung SDI Co., Ltd. and Samsung SDI (Malaysia)
BERHAD which notify that each of the two entrepreneurs dismissed all their agents in Japan as of
October 5, 2009. As a result of the dismissal, as for the two entrepreneurs, the JFTC has not been
able to serve the orders through those agents in Japan.
Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 72 of 74




           EXHIBIT 12
     Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 73 of 74




                               KOREA FAIR TRADE COMMISSION


KFTC Fines 5 Color Display Tube Producers 26.2 Billion Won for CDT International Cartel

                                                                                      January 27, 2011


The Korea Fair Trade Commission (hereinafter “KFTC”) imposed a total surcharge of
26,271million won (about USD 23.5million) on 5 color display tube (hereinafter “CDT”)
manufacturers* for violating the Monopoly Regulation and Fair Trade Act (Article 19). The
KFTC found that 5 CDT manufacturers agreed to fix prices and reduce output of CDTs,
and implemented the agreement for almost 10 years from November 1996 to March
2006.


* Samsung SDI Co. Ltd., LG Philips Display Korea Co., Ltd., Chunghwa Picture Tubes, Ltd., Chunghwa Picture
Tubes (Malaysia) Sdn. Bhd., CPTF Optronics Co., Ltd.


<The case>


The KFTC found that the cartel conspiracies for CDT seriously affected the Korean market.


The conspiracies regulated by the KFTC in this case are as follows:


The CDT producers agreed on fixing prices and reducing output of CDTs in the secret
meetings which took place in various countries including Korea, Taiwan, and Malaysia at
least once a month for almost 10 years from November 1996 to March 2006.


In addition they agreed on fixing prices of CDTs by size and client and curtailing
production by reducing operating days and shutting down CDT production lines. And the
CDT manufacturers exchanged confidential business information such as CDT sales,
production, market share to fulfill and monitor the implementation of their agreements.
Especially, they conducted cross-inspections of factories each other to monitor and
enforce the output-curtailing agreement.




                                                       1
     Case 4:07-cv-05944-JST Document 2969-3 Filed 11/07/14 Page 74 of 74




<Fines>


In setting the surcharges, the Commission took into account various factors including the
respective affected sales of the companies involved, the serious nature of the
infringement and the current status of the CDT industry.


The surcharges imposed for CDT cartel are as follows:
                 Company Name                              Location             Surcharge (Million WON)
 Samsung SDI Co. Ltd                                         Korea                                  24,013
 LG Philips Display Korea Co., Ltd.                          Korea                                        0
 Chunghwa Picture Tubes, Ltd.                               Taiwan                                    2,198
 Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.               Malaysia                                      32
 CPTF Optronics Co., Ltd.                                    China                                       28


* LG Philips Display Korea Co., Ltd. was exempted from paying the surcharge, because it cannot afford the
surcharge. It closed its business in June 2009 by transferring entire business lines including CDT sector to
another corporation.

** The amount of surcharges may vary considering many factors including the reduction for the leniency
applicants.


<Background>


Today’s KFTC decision is the result of a joint investigation with foreign competition
authorities including the United States Department of Justice and the European
Commission in November 2007. The KFTC investigation into the case was initiated by a
leniency application.


The Commission is fully committed to pursuing those who conspired to harm Korean
businesses and consumers. Anyone with information concerning any international price
fixing or other illegal collusive behavior is urged to contact the International Cartel
Division at +82-2-2023-4474.




                                                     2
